Case 1:18-cv-03858-ALC-SLC Document 164 Filed 04/09/24 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-- x
K.A. and D.S., individually and on behalf of a class of all
others similarly situated,
Plaintiffs,
- against - Case No. 1:18-CV-03858 (ALC)

(SLC)
THE CITY OF NEW YORK, NEW YORK CITY
HEALTH AND HOSPITALS CORPORATION,
PHYSICIAN AFFILIATE GROUP OF NEW YORK, P.C.,
ANASTASIA BLACKMON, and DR. “JANE” VESSEL,

Defendants.
x

STIPULATION TO AMEND PLEADINGS FOR PURPOSE OF SETTLEMENT

WHEREAS, Plaintiff K.A. filed a class action complaint on or about May 2, 2018 (dkt.
14), and Plaintiffs K.A. and D.S. filed an amended class action complaint on or about August 15,
2018 (dkt. 32); and

WHEREAS, the parties had a settlement conference before Magistrate Judge Cave on
January 12, 2024, at which a mediator’s recommendation was made; and

WHEREAS, the parties agreed to the material terms of the settlement in the weeks
thereafter and have continued to negotiate additional terms of the settlement that were not
addressed during the settlement conference, with the knowledge of the Court; and

WHEREAS, Plaintiffs previously dismissed their claims against defendants Anastasia
Blackmon and Dr. “Jane” Vessel from this action pursuant to pursuant to Fed. R. Civ. P.
41(a)(1)(A)(ii) with prejudice and have agreed to continue Plaintiffs’ claims as against only the
municipal defendants (dkt. 162); and

WHEREAS, as part of the settlement, the parties agreed to file a second amended

complaint to add five additional Plaintiffs—S.F., K.R., L.M., T.A., and T.W., who were mentioned

Case 1:18-cv-03858-ALC-SLC Document 164 Filed 04/09/24 Page 2 of 3

in the First Amended Complaint (dkt. 32 at 4 57(a), (b), (f), (g), (h)) but who were not named as
Plaintiffs—joining their claims nunc pro tunc as if each was a plaintiff ab initio; and to reflect the
prior dismissal of Individual Defendants Blackmon and Vessel (dkt. 162);

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
between the undersigned—counsel for all present Plaintiffs (K.A. and D.S.) and all incoming
settling Plaintiffs (S.F., K.R., L.M., T.A., and T.W.,) and counsel for all Defendants—that:

A. Pursuant to Fed. R. Civ. P. 15(a)(2), as a condition precedent to settlement and for
the sole purpose of completing the settlement, the parties agree and consent to Plaintiffs filing a
Second Amended Complaint, a copy of which is annexed hereto as Exhibit A; and

B. The parties further agree that the filing via ECF of the proposed Second Amended
Complaint herewith, as well as any subsequent filing of the Second Amended Complaint as
required by the Court, be deemed sufficient service on Defendants thereof and Defendants waive
any additional requirements for service of the Second Amended Complaint; and

C. The parties further agree, and request that the caption be amended as follows:

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

K.A., D.S., S.F., K.R., L.M., T.A., and T.W.,
individually and on behalf of a class of all others
similarly situated,

Plaintiffs,

- against - Case No. 1:18-CV-03858 (ALC)
(SLC)
THE CITY OF NEW YORK, NEW YORK CITY
HEALTH AND HOSPITALS CORPORATION, and
PHYSICIAN AFFILIATE GROUP OF NEW YORK, P.C.,

Defendants.
X

Case 1:18-cv-03858-ALC-SLC Document 164 Filed 04/09/24 Page 3 of 3

Dz. The parties further agree that electronic signatures shall serve as originals for the

purposes of this Stipulation, which may be submitted to the Court without further notice.

Date: April 9, 2024

HELD & HINES, LLP

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lA h—~
Uri Nazryan
2004 Ralph Avenue
Brooklyn, New York 11234
P: (718) 531-9700
unazryan@heldhines.com
Counsel for present and incoming settling
Plaintiffs

SO ORDERED:

(nd 7 Coy

Respectfully Submitted,

P: (212) 356-0894
mbowe@law.nyc.gov
Counsel for Defendants

Honorable Andrew L. Carter, Jr.
United States District Judge

pated April 9, 2024

